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FoR THE wEsTERN DISTRICT or TENNESSEE ‘%g,
EASTERN DIvIsIoN ,. ' <°,>
LARRY S. MELTON, et al.,
Plaintiffs,
VS. No. 02-1242»T-An

JOHN JEWELL, et al.,

Defendants.

 

ORDER DENYING APPEAL OF MAGISTRATE’S ORDER ON
SCHEDULING ORDER

 

Defendants’ motion for a new Scheduling and planning conference was referred to
Magistrate Tu M. Pharn. On May 17, 2005, Magistrate Judge Pharn issued a ruling, setting
new discovery dates. Plaintiffs Johnny Melton and Blankenship/Melton Aviation, Inc., have
filed an appeal of that order on the ground that "rescheduling discovery and depositions until
September l, 2005, rewards the defendant for six months of inactivity while delaying
Plaintift"s day in court." Appeal at p. l.

A party aggrieved by the magistrate judge's order may seek review of it by appealing
to the district court within ten days after being served with a copy of the order. E Locai
Rule 72.1(c). The district court's review of any discovery-related decisions made by the

magistrate judge is governed by Rule 72(a) of the F ederal Rules of Civil Procedure, which

This document entered on the docket sheet Tn compliance
with Rule 58 and,'or_79 (a) FRCP on 69

 

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IN THE UNITED STATES DISTRICT COURT 0 /<<b/§// g

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provides: “The district judge to whom the case is assigned shall consider such objections and
shall modify or set aside any portion of the magistrate judge‘s order found to be clearly
erroneous or contrary to law.” Fed. R. Civ. P. 72(a); see also § 28 U.S.C. 636(b)(l). “The
clear error standard means that the district court can overturn the magistrate judge's ruling
only if the district court is left with the definite and firm conviction that a mistake has been
made.” Weeks v. Samsung Heavy Indus. Co., 26 F.3d 926, 943 (7“‘ Cir. 1997).

ln the present case, the mere assertions that Plaintiff’ s "day in court" will be delayed
or that Defendants will be "rewarded“ by a delay are not sufficient to show that the ruling
of Magistrate Judge Pham is “cIearly erroneous or contrary to law.” Therefore, Plaintiffs’
appeal is DENIED.

Magistrate Judge Pham’s order states that the trial date will be set by the presiding
judge. Scheduling Order, 5/17/05. Accordingly, the non-jury trial of this matter is hereby
SET for Monday, November 14, 2005, at 9:30 a.m. A joint pretrial order will be due no
later than Friday, November 4, 2005.

IT IS SO ORDERED.

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JAM D. TODD
UN D STATES DISTRICT IUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
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Honorable J ames Todd
US DISTRICT COURT

